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     1   STATE OE   ILLINOIS    )
                                )      SS:
     2   COUNTYOFCOOK)
     3         IN THE CIRCUIT COURT OE COOK COUNTY, ILLINOIS
                   COUNTY DEPARTMENT - CRIMINAL DIVISION
     4                        SECOND MUNICIPAL DISTRICT

     5   THE PEOPLE OE THE      STATE        )
         OF TLLINOIS,                        )
     6                                       )
                         Pl-aintiff,         )
     1                                       )
              vs.                            ) No. 02      CR   232589
     B                                       )
                                             )
     9   MARSHALL PAYNE,                     )

                                             )
   10                    De   fendant   .    )


   11                    EXCERPT OF PROCEEDINGS       had at the hearing
   1.2   in the above-entitled          cause before the    HONORABLE

   13    SHELLEY SUTKER-DERMER, Judge of said court,               oo the 4th
   t4    day of April,    2003.
   15         APPEARANCES:

   16         HONORABLE RICHARD A. DEVINE,
              STATEIS ATTORNEY OE COOK COUNTY, bY:
   1"7        MR. CHRISTOPHER PEANNKUCHE,
              ASSISTANT STATE'S ATTORNEY,
   1B               Appeared on behalf of the People,'
   19         MR. EDWIN A. BURNETTE,
              PUBLIC DEFENDER OF COOK COUNTY, bY:
   20         MR. ANDREW E. SOHN,
              ASSISTANT PUBLIC DEEENDER,
   21              Appeared on behalf of the Defendant.
   22

   23
         TRACl L. PANKEY, C.S.R.
   24    CERTIFIED SHORTHAND REPORTER
         License No. #084-003980
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    1                            ******
    2                             (Whereupon        there were proceedings    had

    3                              that were not transcribed)
    4         THE COURT:        Evidence in this case did not support
    5 intent.            Although the SLate argued it did, there is           no

    5 indication there is intent.
                           Question is,     is there sufficient     evi-dence to
    8 prove beyond a reasonable doubt Defendant possessed
    t   heroin or controlled substance on date of the offense.
   10                      The issue here is whether State has met
   11 their     burden of proof.           Defense would say story is so
   72 preposterous           State could not based on evidence of the
   13 officers       prove beyond a reasonable doubt Defendant had,
   74 in fact,       possession of narcotics           in plastic   bag and
   15 stuffed       it    in a wall,     in brick    area, and State would
   16 argue it       has argued the Defendant I s story is
   L1 preposterous          in the way he got arrested.
   18                      Not only did he get arrested         in a way that
   19 indicated they had nothing on him, they had to flgure
   20 it out at station,           and at station they put the drug
   2l   case on him. When they were on call,                apparently by his
   22 testimony, for some type of fight.
   23                      I obviously    have the job of weighing
   24 credibility          of the wit.nesses.        This Court finds   in




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    Case: 1:20-cr-00024 Document #: 103 Filed: 11/15/22 Page 8 of 13 PageID #:1000




         1   favor of the State.             In terms of the officers'
         2   Lestimony.        Impeachment of whether it        was I clearly
         3 believe     officer      in the writing      as opposed to the
         4   (unreadable steno) for impeaching the of f j-cers'
         5   testimony.        When it. indicated      four packets;     and, j-f
         6 anything,      if    they were to going to put it         on hj-m, make
         7 up entire      story,        theytre   not groing to put 76 packets
         8 down inventory          form.      In any event, I will     indicate      I
         9 did bel-ieve testimony of the officers               things
        10   (unreadable steno)             He was credibl-e.
        11                     And I am finding      Defendant guilty     of Class        4


       12 felony possession, of controlled substance. I wil-1
       13 order pre-sentence investj-gation, bring this case back
       14 here for May Znd for purposes of sentencing. What that
       15 means, somebody will              intervj-ew you from the Social-
       76 Services Department. I am not sure if they will do it
       71 at this point in the afternoon, oL f have to bring                        you
       18 back another date.
       L9                      State?
       20         MR. PFANNKUCHE: At this time, I know Defendant is
       27 in custody. Should he make bond, I ask Court revoke
       22 his bond. He has now been found guilty by this Court.
.      23 He has, for the record, if I               may?

       24        THE COURT: No.             I know he has two felony




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     1 convictions.
     2        MR. PFANNKUCHE: He has more than that, Judge. I
     3 would like to apprise the Court of his background.
     4                 Defendant has at this point felony
     5 conviction Class 2 for delivery of controll-ed
     6 substance. October 23rd, 1998. Defendant has felony
     7 conviction for robbery, January 73, 1995. Defendant
     8 has -- that was penitentlary            time to both of those.
     9                 Defendant has felony conviction for
    10 possession of conLrolled substance, November 13, 7990,
    11 penitentiary      time.    Defendant has felony conviction for
    72 burglary, August 1st, 1983. Cl-ass 2 felony again,
   13 penitentiary       time.   Defendant has felony conviction for
   74 robbery, August 1st, 1983, penitentiary                time.
   15         MR. SOHN: Can we say in the last 20 years.
   16         THE COURT:     That is within last 20 years because           he

   71 was sentenced. Anything else?
   18         MR. PEANNKUCHE: I am stopping at this point..
   19         THE COURT:     Ulotion to revoke bond granted, unless
   20 you wish to respond to that.             Your client     appears to   be

   2l    in custody?
   22         MR. SOHN: Yes, Judge.
   23         THE COURT:     Motion to revoke bond granted.
   24         MR. SOHN: We are asking for TASC eval-uation.
                                           A




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        1          THE COURT: Based on your (unreadable steno) to

        2   change date, continued it            to (unreadable steno) you go
        3 by agreement for purposes of post-triaI                  motj-ons you can
        4   file   them it   would have to be May 8 for purposes of
        5   sentencing wit.h TASC evaluation.             I will    order   TASC

        6 evaluation.
     7             MR. PEANNKUCHE: By agreement May 8.
     8             THE COURT: It      will    be order of Court, May 8 for
     9 purposes of sentenci-ng and post-trial-                motions.       Wish to
    10 file        them, file     them before that date.           Do you have any
    11 objection        to that being date he needs to be sentenced
    72 30 days.         We will     make it      May B.   You wish to file         them
    13 file        them that date.       There is no way to get
    74 pre-sentencing            investigation      or TASC eval-uation prior
    15 to 30 days.           That is the order.
    16                          (Whereupon, the above-entitled         cause   was

    71                          continued to May 8, 2003.)
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Case: 1:20-cr-00024 Document #: 103 Filed: 11/15/22 Page 11 of 13 PageID #:1003




     1   STATE OF ILLINOIS

     2   COUNTYOECOOK
     3               IN THE C]RCU]T COURT OF COOK COUNTY, ]LLINO]S
                           COUNTY DEPARTMENT-CRIMINAL DIVISION
     4                        SECOND MUN]CIPAL DISTRICT

     5

     6                     T, Traci L. Pankey, Certified                Shorthand
     1   Reporter for the Circuit       Court of Cook County, do
     o   hereby certify      that I transcribed           to the best of      my

     9   ability,    the foregoing    Report of Proceedings from the
    10   notes of    MARGO   DEPHILLIPS, a Certified           Shorthand
    11 Reporter, and that the foregoing is a true and correct
    72 transcript      of said Report of Proceedings as appears
    13 from the stenotype notes had before the Honorabl-e
    14   SHELLEY SUTKER-DERMER,       Judge of said Court.
    15

    16                             hfilr-d                tu4 /    t


    71                               Certified        S   .orthand R       rt er
                                     License     No        084-0039 a
    1B

    19

    20 Dated this 5th
    27 of May,      2022

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